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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )               CASE NO. 8:02CR353
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                      ORDER
                                               )
BARRY RENFOLD COOLEY,                          )
                                               )
              Defendant.                       )

       This matter is before the Court on the Defendant’s Notice of Appeal (Filing No. 832).

On October 6, 2015, the Deputy Clerk filed a Notice of Deficiency (Filing No. 833) advising

the Defendant that his Notice of Appeal required his signature and that the deficiency needed

to be corrected with 15 days of the date of the notice, otherwise the pleading would be

stricken. The deadline to correct the deficiency has passed and therefore pursuant to Filing

No. 833, the Notice of Appeal (Filing No. 832) will be stricken from the record.

       Also before the Court is the Defendant’s Application to Proceed in District Court without

Prepaying Fees or Costs (“Application”) (Filing No. 836). The Defendant was previously

permitted to proceed in district court as one financially unable to obtain adequate defense.

A defendant may proceed on appeal in forma pauperis without further authorization, unless

this Court certifies that the appeal is not taken in good faith or finds that the Defendant is not

otherwise entitled to proceed in forma pauperis. Fed. R. App. P. 24(a)(3). Because the

Notice of Appeal will be stricken, there is no pending appeal; the Court is unable to determine

the reason for the Defendant’s Application, and the Application will be denied as moot.

       IT IS ORDERED that:

       1.     The Defendant’s Notice of Appeal (Filing No. 832) is stricken pursuant to Filing

              No. 833;
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    2.    The Defendant’s Application to Proceed in District Court without Prepaying

          Fees or Costs (Filing No. 836) is denied as moot; and

    3.    The Clerk of Court is directed not to process the Defendant’s Notice of Appeal.

    DATED this 8th day of December, 2015.

                                            BY THE COURT:


                                            s/Laurie Smith Camp
                                            United States District Judge
